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                  EXHIBIT B
             Case 3:17-cv-00072-NKM-JCH Document 792-2 Filed 07/03/20 Page 2 of 2 Pageid#:
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Katie heng
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From:                              Jessica Phillips
Sent:                              Tuesday, May 5, 2020 1:29 PM
To:                                Eli Mosley; eli.f.mosley@gmail.com; eli.r.kline@gmail.com
Cc:                                Jessica Phillips; Yotam Barkai
Subject:                           your deposition


Mr. Kline:

I am writing to inquire about your availability in June 2020 to sit for your deposition in Sines v. Kessler. As you know, the
trial begins on October 26, 2020, and party depositions must be complete by July 17, 2020. Because of the pandemic, we
will be taking depositions via video. Accordingly, in addition, to informing me of your available dates to sit for a
deposition, please also confirm whether you have access to a computer with a camera, a cell phone, and an internet
connection. If you have any questions, I can be reached at the number in my signature below.

Best,

Jessica E. Phillips
Partner

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